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                         IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF UTAH


TERRY MCMICKELL,                                      ORDER ADOPTING REPORT AND
                                                      RECOMMENDATION
                        Plaintiff,

v.
                                                      Case No. 2:19-cv-00902-DB-JCB
ANDREW M. SAUL, Commissioner of
Social Security,

                        Defendant.                    District Judge Dee Benson

                                                      Magistrate Judge Jared C. Bennett




         Before the court is the Report and Recommendation issued by the magistrate judge on

September 15, 2020. (Dkt. No. 26.) The magistrate judge recommends that the court affirm

Defendant Andrew M. Saul’s (“Commissioner”) final decision determining that Plaintiff was not

entitled to disability insurance benefits under the Social Security Act. (See id.)

         The parties were notified of their right to file objections to the Report and

Recommendation within 14 days of service pursuant to 28 U.S.C. § 636 and Fed. R. Civ. P. 72.

As of the date of this Order, no objection has been filed to the Report and Recommendation, and

the time period to file an objection has closed.

         De novo review of all materials, including the record that was before the magistrate judge

and the reasoning set forth in the Report and Recommendation has been completed. The analysis

and conclusion of the magistrate judge are correct, and the Report and Recommendation will be

adopted.
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      Accordingly, it is hereby ORDERED that the Report and Recommendation (Dkt. No. 26)

is ADOPTED. The Commissioner’s final decision in this case is hereby AFFIRMED.

      IT IS SO ORDERED.

             DATED this 19th day of October, 2020.

                                         BY THE COURT:




                                         DEE BENSON
                                         United States District Judge
